UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                               8/13/21
  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On March 19, 2021, Defendant Ghislaine Maxwell submitted a sealed and ex parte

motion for an order authorizing four subpoenas pursuant to Rule 17(c)(3) of the Federal Rules of

Criminal Procedure. By sealed order dated March 22, 2021, the Court provided an opportunity

for recipients of the subpoenas to respond to the requests by March 30, 2021, but it received no

responses.

       In an Opinion and Order temporarily filed under seal, the Court DENIES Maxwell’s

motion without prejudice. It does so after concluding that none of the proposed subpoenas

conform to the factors first set out in United States v. Nixon, 418 U.S. 683, 698–70 (1974).

       The Court will send the temporarily sealed Opinion and Order to defense counsel. By

August 18, 2021, Maxwell is ORDERED to inform the Court whether she seeks sealing or

limited redactions of the Court’s opinion and of her original motion papers, justifying any such

request by reference to the three-part test articulated by the Second Circuit in Lugosch v.

Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006). In addition, by that date Maxwell shall

inform the Court whether she seeks full sealing or redactions of the original motion, again

justifying any such request by reference to the Lugosch test.

       SO ORDERED.
Dated: August 13, 2021
       New York, New York
                            ____________________________________
                                      ALISON J. NATHAN
                                    United States District Judge
